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Cumberland County Sheriffs Office shall also bring to the attention of the United States Marshals

Service any medical or security concerns regarding the prisoner.

       Copies of this Writ will be certified to the Cumberland County Sheriff, the Cumberland

County Detention Center, and the United States Marshals Service in Raleigh and Wilmington, North

Carolina.

       SO ORDERED, this 5th day of May, 2015.



                                             Rothzl:::b
                                             United States Magistrate Judge




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